 

UNITED STATES DISTRICT coURT » _`

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WESTERN DISTRICT OF TENNESSEE %%% <s‘
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ORDER 0F PRoDUCTroN CP;;, /`

NO= 1:01-10031-01
USA V- Sharn Milan

AD Prosequendum

FOR: Re-Sentencing

TO: USM, Western District of TN
Warden, FCI - Forrest City, AR

YOU ARE HEREBY COMMANDED to have the person of Sharn Milan, Inmate # 17704-076,
by you restrained of his/her liberty, as it is said, by whatsoever names detained, together with the day
and cause of his being taken and detained, before the Honorable J ames D. Todd, U. S. District Court
Judge, for the Western District of Tennessee, at the room of said Couit, in the City of Jackson,
Tennessee, at 8:30 a.m. on the 6th day of July, 2005, then and there to do, submit to, and receive
Whatsoever the said Judge shall then and there determine in that behalf; and have you then and there
this writ; further, to hold him in federal custody until disposition of this case and to produce him
for such other appearances as this court may direct.

ENTER.ED THIS 19"‘ DAY OF MAY, 2005.

  

 

. TODD
STATES DISTRICT JUDGE

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UNITED `sETAT DISTRIC COURT - WESTERN D's'TRCT 0 TESSEE

 
 

Notice of Distribution

This notice confirms a copy of the document docketed as number 400 in
case 1:0]-CR-10031 Was distributed by faX, mail, or direct printing on
May 23, 2005 to the parties listed

 

 

J ames W. Povvell

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jackson7 TN 38301

Robert C. Brooks

LAW OFFICE OF ROBERT C. BROOKS
P.O. Box 771558

l\/lemphis7 TN 38177

Honorable J ames Todd
US DISTRICT COURT

